                                      UNITED STATES DISTRICT COURT
                                              WESTERN DISTRICT OF MISSOURI
                                                   WESTERN DIVISION

 UNITED STATES OF AMERICA                                                §      JUDGMENT IN A CRIMINAL CASE
                                                                         §
 v.                                                                      §
                                                                         §      Case Number: 4:16-CR-00348-GAF(6)
 FRANCISCO A. SHERMAN                                                    §      USM Number: 31940-045
                                                                         §      David Harold Johnson, CJA
                                                                                Defendant’s Attorney
                                                                         §

         The defendant:

 ☒ pleaded guilty to count(s) 2 of indictment on 3/12/18

         The defendant is adjudicated guilty of these offenses:

 Title & Section / Nature of Offense                                                                   Offense Ended        Count
 Conspiracy to Commit an Offense Against the United                                                    11/14/2014           2
 States 18 U.S.C. § 371




        The defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

 ☐ The defendant has been found not guilty on count(s)
 ☒ Count(s) 1, 6, 7, 8, 9 ☐ is ☒ are dismissed on the motion of the United States

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.


                                                                  October 17, 2018
                                                                  Date of Imposition of Judgment




                                                                  /s/ Gary A. Fenner
                                                                  Signature of Judge

                                                                  GARY A. FENNER
                                                                  UNITED STATES DISTRICT JUDGE
                                                                  Name and Title of Judge

                                                                  October 17, 2018
                                                                  Date




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                                                            PROBATION
          The defendant is hereby sentenced to probation for a term of: 4 years on Count 2.


                                               MANDATORY CONDITIONS

 1.     You must not commit another federal, state or local crime.
 2.     You must not unlawfully possess a controlled substance.
 3.     You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of
        release from imprisonment and at least two periodic drug tests thereafter, as determined by the court.

              ☐ The above drug testing condition is suspended, based on the court's determination that you pose a low risk of
                  future substance abuse. (check if applicable)
 4.     ☒     You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
 5.     ☐ You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
              seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which
              you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
 6.     ☐ You must participate in an approved program for domestic violence. (check if applicable)
 7.     ☐ You must make restitution in accordance with 18 U.S.C. §§ 2248, 2259, 2264, 2327, 3663, 3663A, and 3664. (check if
              applicable)
 8.     ☒ You must pay the assessment imposed in accordance with 18 U.S.C. § 3013.
 9.  ☐ If this judgment imposes a fine, you must pay in accordance with the Schedule of Payments sheet of this judgment.
 10. ☒ You must notify the court of any material change in your economic circumstances that might affect your ability to pay
              restitution, fines, or special assessments.

          You must comply with the standard conditions that have been adopted by this court as well as with any additional
 conditions on the attached page.

                                  STANDARD CONDITIONS OF PROBATION
        As part of your supervised release, you must comply with the following standard conditions of probation. These conditions
are imposed because they establish the basic expectations for your behavior while on probation and identify the minimum tools
needed by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
      time frame.

2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.

3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
      the court or the probation officer.

4.    You must answer truthfully the questions asked by your probation officer.

5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If
      notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation
      officer within 72 hours of becoming aware of a change or expected change.

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6.   You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
     officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.

7.   You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you
     from doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer
     excuses you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
     responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least
     10 days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
     becoming aware of a change or expected change.

8.   You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
     convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of
     the probation officer.

9.   If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
    was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
    tasers).

11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
    without first getting the permission of the court.

12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
    require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
    person and confirm that you have notified the person about the risk.

13. You must follow the instructions of the probation officer related to the conditions of supervision.


                                    SPECIAL CONDITIONS OF PROBATION
1.   The defendant shall provide the Probation Office with access to any requested financial information.

2.   The defendant shall successfully participate in any substance abuse testing program, which may include urinalysis, sweat patch,
     or Breathalyzer testing, as approved by the Probation Office, and pay any associated costs as directed by the Probation Office.


3.   The defendant shall submit his person and any property, house, residence, office, vehicle, papers, computer, other electronic
     communication or data storage devices or media and effects to a search, conducted by a U.S. Probation Officer at a reasonable
     time and in a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of
     release; failure to submit to a search may be grounds for revocation; the defendant shall warn any other residents that the premises
     may be subject to searches pursuant to this condition.




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U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a
written copy of this judgment containing these conditions. I understand additional information regarding these
conditions is available at the www.uscourts.gov.

 Defendant’s Signature                                                                                   Date
                                        CRIMINAL MONETARY PENALTIES
         The defendant must pay the total criminal monetary penalties under the Schedule of Payments.

                                              Assessment        JVTA Assesment*                               Fine                   Restitution
 TOTALS                                          $100.00                                                      $.00                          $.00

 ☐ The determination of restitution is deferred until  An Amended Judgment in a Criminal Case (AO245C) will be entered
   after such determination.
 ☐The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment. However, pursuant to 18 U.S.C.
         § 3664(i), all nonfederal victims must be paid before the United States is paid.

* Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22
** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.

                                                 SCHEDULE OF PAYMENTS
         Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

 A     ☒ Lump sum payments of $ $100.00 due immediately. It is ordered that the Defendant shall pay to the United States a
              special assessment of $100.00 for Count 2 which shall be due immediately. Said special assessment shall be paid to the
              Clerk, U.S. District Court.

              Since the Court finds that the defendant does not have the ability to pay a fine, the fine is waived.

              It is further ordered that the defendant shall pay to the United States a total special assessment of $100, which shall be
              due immediately.

         Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
penalties is due during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal
Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the court.

         Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine
principal, (5) fine interest, (6) community restitution, (7) JVTA Assessment, (8) penalties, and (9) costs, including cost of prosecution
and court costs.

         The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




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